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               Of Attorneys for Plaintiff




                              IN THE UNITED STATES BANKRUPTCY COURT

                                         FOR THE DISTRICT OF OREGON

       In re                                             Case No. 19-34092-tmb11

       Fizz and Bubble, LLC,


                     Debtor-in-Possession.
       Fizz and Bubble, LLC, an Oregon limited           Adv. Pro. No. ____________
       liability company,
                                                         COMPLAINT (Violation of the Automatic
                                 Plaintiff,              Stay – Compensatory Damages and
                                                         Non-Compensatory Fines)
                           vs.

       Harsh Investment Properties, LLC, an
       Oregon limited liability company,

                                 Defendant.

                                               INTRODUCTION

               Plaintiff Fizz and Bubble, LLC (“Plaintiff” or “Debtor”) is the Debtor-in-Possession in

      the above-captioned chapter 11 bankruptcy case. Debtor, by this Complaint, seeks the

      recovery of money for compensatory damages and non-compensatory fines from Harsch

      Investment Properties, LLC, (“Harsch” or “Defendant”) an Oregon limited liability company,


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      related to the Defendant’s violations of the automatic stay and damages stemming

      therefrom.

              Plaintiff alleges:

                                                  PARTIES

              1.     Fizz and Bubble, LLC, is the Debtor-in-Possession in the above referenced

      chapter 11 bankruptcy case.

              2.     Harsch is a limited liability company duly organized and existing under the

      laws of the State of Oregon, with its principal place of business in the State of Oregon.

      Harsch is a real estate company with a portfolio that includes offices, retail commercial

      properties, multi-family properties, and, multi-tenant industrial properties, including the

      property leased by the Debtor as described below.

                                        JURISDICTION AND VENUE

              3.     The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

      1334(b). This action is a core proceeding pursuant to 28 U.S.C. §§ 157(b)(2)(A)(E)(H) and

      (O). This proceeding is also within the Court's non-core jurisdiction, pursuant to 28 U.S.C. §

      157(c)(1) as a matter otherwise related to the bankruptcy case. Pursuant to LBR 7008-1,

      Plaintiff consents to the entry of a final order or judgment by the Court.

              4.     Venue is proper under 28 U.S.C. § 1409.

              5.     This proceeding is brought pursuant to FRBP 7001(1).

              6.     Plaintiff is an Oregon limited liability company.

              7.     On November 4, 2019, Debtor filed its voluntary petition for relief under

      Chapter 11 of Title 11 of the United States Code (the “Petition Date”).




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              8.    This is an adversary proceeding to recover compensatory and punitive

      damages stemming from the Defendant’s willful violations of the automatic stay provided for

      under 11 U.S.C. § 362(a). The acts, as discussed below, that violated the automatic stay

      were intentionally done, done with gross negligence, or done with gross negligence and

      wanton disregard for the safety of others.

                                         STATEMENT OF FACTS

              9.    On September 1, 2016, Plaintiff and the Defendant’s predecessor in interest,

      JP Wilsonville, LLC, entered into the 595 Wilsonville Business Center Industrial Lease (the

      “Lease”) for the property located at 27120 SW 9th Ave. Suite 3260-3280, Wilsonville, OR

      97070 (the “Property”). A copy of the Lease is attached hereto as Exhibit A.

              10.   Sometime after September 1, 2016, JP Wilsonville, LLC, sold or otherwise

      transferred its interest in Property to the Defendant.

              11.   On April 23rd, 2020, the power to the Property was shut off by the Defendant,

      resulting in the cessation of production, damage to leased equipment critical in the

      production of goods by the Plaintiff, and also exposed the Plaintiff and staff to the risk of fire

      and injury caused by the reckless removal of the electrical fuses of the Plaintiff to which only

      the Defendant had access.

              12.   The fuses were eventually replaced by the Plaintiff after losing more than a

      day of production and the loss of the leased printer, which is critical for the labeling of the

      Plaintiff’s goods, due the abrupt shutting down of power. The electrician replacing the fuses

      stated that it was highly dangerous to remove the fuses in the fashion they were removed,

      risking damage to equipment due to power surges and possible injury or loss of life due to

      fires caused by power surges.


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              13.    On April 28th, 2020, the Defendant again removed the fuses without warning

      after putting locks on the fuse box located in the office of the Plaintiff’s neighboring

      business.

              14.    Craig Barnes was the only employee on site when the fuses were removed by

      the Defendant a second time and was using the restroom facilities when the removal and

      subsequent power shut off occurred. Mr. Barnes was left in the pitch-black restroom and

      subsequently fell and struck his head while attempting to make his way out and to possibly

      determine the exact identity of the Defendant’s employee or agent responsible for removing

      the fuses. Mr. Barnes was unable to identify the Defendant’s employee or agent

      responsible.

              15.    The Defendant’s actions caused damages to Plaintiff consisting of, but not

      limited to, the loss of production caused by both violations of the automatic stay, remedial

      actions necessary to restore power to the Plaintiff’s Property, the damage and loss of use of

      leased equipment, and pain and suffering of employees caused by the violation of the

      automatic stay by the Defendant.

                                        FIRST CLAIM FOR RELIEF

         (Compensatory Damages for Breach of Automatic Stay - 11 U.S.C. § 362(a) and 11
                                      U.S.C. § 105(a))

              16.    Plaintiff hereby repeats and realleges the allegations set forth in the preceding

      paragraphs 1 through and including 16 as though fully set forth herein and incorporates the

      same herein by this reference.

              20.    The Defendant had actual notice of the filing of the Plaintiff’s chapter 11

      bankruptcy case as demonstrated by the Defendant’s filing of Claim No. 6 on November 16,

      2019.

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              21.     The Defendant’s actions were a willful and intentional violation of the

      automatic stay provided by 11 U.S.C. § 362(a).

              22.     As a result of Defendant’s willful and intentional violation of the automatic stay,

      Plaintiff has suffered economic damages in an amount to be proven at trial, as well as

      consequential damages to be proven at trial.

                                        SECOND CLAIM FOR RELIEF

        (Non-Compensatory Fines for Breach of Automatic Stay - 11 U.S.C. § 362(a) and 11
                                       U.S.C. § 105(a))

              Plaintiff hereby repeats and realleges the allegations set forth in the preceding

      paragraphs 1 through and including 19 as though fully set forth herein and incorporates the

      same herein by this reference.

              23.     The acts constituting the Defendant’s violations of the automatic stay were

      intentionally done, done with gross negligence, or done with gross negligence and wanton

      disregard for the safety of others.

              24.     By improperly removing the fuses of the Property’s fuse box, the Defendant

      exposed the Plaintiff and its employees and family members of employees to the risk of

      injury by fire or an injury caused by an electrical surge caused by the fuse removal.

      Moreover, a Plaintiff’s employee suffered injury after falling in a pitch-black room after the

      removal of the fuses, demonstrating the very real dangers caused by the Defendant’s

      reckless and dangerous behavior.

              25.     The Defendant should be forced to pay non-compensatory fines in light of the

      willful, serious, and dangerous nature of the violations of the automatic stay.

              WHEREFORE, the Plaintiff respectfully requests judgment against Defendant as

      follows:

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              1.    On Plaintiff’s First Claim for Relief, payment to Plaintiff by Defendant in an

      amount to be proven at trial, with interest thereon at the applicable rate, as compensatory

      damages;

              2.    On Plaintiff’s Second Claim for Relief, payment to Plaintiff by Defendant in an

      amount to be proven at trial, with interest thereon at the applicable rate, as non-

      compensatory fines; and

              3.    For such other and further relief as the Court deems just and proper.

                                                Respectfully submitted;

       DATED: August 24, 2020                   VANDEN BOS & CHAPMAN, LLP



                                                By:/s/Douglas R. Ricks
                                                   Douglas R. Ricks, OSB #044026
                                                   Of Attorneys for Plaintiff




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